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   Humor Rainbow, Inc.; PlentyofFish Media ULC;
11 and People Media, Inc.

12                             UNITED STATES DISTRICT COURT

13                          NORTHERN DISTRICT OF CALIFORNIA

14

15 IN RE GOOGLE PLAY STORE                    Case No. 3:21-md-02981-JD
   ANTITRUST LITIGATION
16                                            NON-PARTIES MATCH GROUP, LLC;
   THIS DOCUMENT IS RELATED TO:               HUMOR RAINBOW, INC.;
17                                            PLENTYOFFISHMEDIA ULC; AND
   Epic Games Inc. v. Google LLC et al.,      PEOPLE MEDIA, INC.’S STATEMENT IN
18 Case No. 3:20-cv-05671-JD                  SUPPORT OF SEALING CONFIDENTIAL
                                              INFORMATION IN CONNECTION WITH
19                                            GOOGLE’S OBJECTIONS TO EPIC’S
                                              PROPOSED INJUNCTION
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       MATCH NON-PARTIES’ STATEMENT IN SUPPORT OF SEALING CONFIDENTIAL INFORMATION
                            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD
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 1             Pursuant to Civil Local Rules 7-11 and 79-5, Match Group, LLC; Humor Rainbow, Inc.;

 2 PlentyofFish Media ULC; and People Media, Inc. (collectively, the “Match Non-Parties”)

 3 respectfully move the Court to seal the entirety of Exhibit 19 to the Shikman Declaration and portions

 4 of the Statement of Dr. Gregory Leonard filed in Case Nos. 3:21-md-02981-JD and 3:20-cv-05671-

 5 JD. This Statement in Support of Sealing Confidential Information is supported by the Declaration

 6 of Ian Purves (“Purves Declaration”), and the Proposed Order submitted herewith, and is submitted

 7 pursuant to Civil Local Rule 79-5(c) and (f).

 8                                               ARGUMENT

 9             Civil Local Rule 79-5(b) allows sealing any document that is “privileged, protectable as a

10 trade secret or otherwise entitled to protection under the law.” “[T]he public has less of a need for

11 access to court records attached only to non-dispositive motions because those documents are often

12 unrelated, or only tangentially related, to the underlying cause of action.” Kamakana v. City and

13 County. of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006). The Ninth Circuit and Supreme Court

14 have long recognized that competitively sensitive information “that might harm a litigant’s

15 competitive standing” satisfy the compelling reasons standard. In re Elec. Arts, Inc., 298 F. App’x

16 568, 569 (9th Cir. 2008) (unpublished) (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598

17 (1978) (“[C]ourts have refused to permit their files to serve as . . . sources of business information

18 that might harm a litigant’s competitive standing”)). “Examples include when a court record might

19 be used to as sources of business information that might harm a litigant’s competitive standing.” Ctr.

20 for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1097 (9th Cir. 2016).

21             The information Match Non-Parties seek to seal would allow Match Non-Parties’ competitors

22 and counterparties to understand granular details and datapoints about, among other things, revenue,

23 fees, and customer purchases over time in relation to Match Non-Parties’ online dating services, and

24 would accordingly potentially harm Match Non-Parties’ competitive standing. The Match Non-

25 Parties have “narrowly tailored” their request to “only redact the portions of filings and the precise

26 exhibits” that implicate “confidential business information,” and this information is “not available to

27 the public.” In re Qualcomm Litig., 2017 WL 5176922, at *2 (S.D. Cal. 2017). The Match Non-

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 1 Parties accordingly ask that these materials be maintained under seal and provide the Declaration of

 2 Ian Purves in support of this Statement in Support of Sealing.

 3             Specifically, the Match Non-Parties seek to exclude the entirety of Exhibit 19 to the Shikman

 4 Declaration and portions of the Statement of Dr. Gregory Leonard identified below:

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 6     Document and Location                        Match Non-Parties’ Bases for Sealing
             of Designated
 7            Information
      Exhibit 19 to Declaration of    This exhibit contains non-public and highly confidential financial
 8    Dane Shikman in Support         information related to consumer purchases on Tinder, Match,
      of Google’s Objections to       OkCupid, OurTime, and PlentyofFish on Android, iOS, and web.
 9    Epic’s Proposed Injunction      Disclosure would severely and adversely impact Match Non-
      [Dkt. 960-1]; Exhibit in        Parties’ ability to negotiate agreements in the future. If revealed to
10    Entirety                        competitors and potential business counterparties, they could use
                                      this non-public and confidential information to disadvantage Match
11                                    Non-Parties in marketing and in negotiations. Moreover, if revealed
                                      to competitors and potential business counterparties, this non-public
12                                    and confidential information could give competitors insight into
                                      Match Non-Parties’ businesses with respect to purchasing trends of
13                                    Match Non-Parties’ customers, which could cause competitive
                                      harm. For example, a potential counterparty armed with this non-
14                                    public information could use it to obtain leverage against Match
                                      Non-Parties in negotiations by pointing to this financial information.
15                                    In addition, material, non-public, sensitive financial information
                                      may not be (and need not be) consistent with generally accepted
16                                    accounting principles or Match Group, Inc.’s public financial
                                      filings. Therefore, revealing this financial data publicly can be
17                                    misleading for investors and other parties and lead to inappropriate
                                      inferences about this information and other parts of Match Group,
18                                    Inc.’s portfolio of business. This information, moreover, is not
                                      relevant to the Objections.
19    Statement of Dr. Gregory        The selected portions of this Statement contain non-public
      Leonard in Support of           information regarding payment processing costs for Match Non-
20    Google’s Objections to          Parties and reveal confidential business terms between Match Non-
      Epic’s Proposed Injunction      Parties and third parties. Disclosure would severely and adversely
21    [Dkt. 960-4]; Paragraph 32      impact Match Non-Parties’ ability to negotiate agreements in the
      (between “ranged between”       future. If revealed to competitors and potential business
22    and “over the period”);         counterparties, they could use this non-public and confidential
      Footnote 43 (between            information to disadvantage Match Non-Parties in marketing and in
23    “processing cost of” and        negotiations. For example, a potential counterparty armed with this
      “from 2015-2021”)               non-public information could use it to obtain leverage against Match
24                                    Non-Parties in negotiations by pointing to this financial information.
                                      In addition, material, non-public, sensitive financial information
25                                    may not be (and need not be) consistent with generally accepted
                                      accounting principles or Match Group, Inc.’s public financial
26                                    filings. Therefore, revealing this financial data publicly can be
                                      misleading for investors and other parties and lead to inappropriate
27                                    inferences about this information and other parts of Match Group,
                                      Inc.’s portfolio of business. This information, moreover, is not
28                                    relevant to the Objections.
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 1                                             CONCLUSION

 2             For the foregoing reasons, Match Non-Parties respectfully request that the Court seal the

 3 entirety of Exhibit 19 to the Shikman Declaration and the portions of the Statement of Dr. Gregory

 4 Leonard identified above.

 5

 6    Dated: May 9, 2024                               HUESTON HENNIGAN LLP
 7

 8
                                                       By:
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